Case 2:05-cr-20280-BBD Document 28 Filed 08/24/05 Page 1 of 2 Page|D 30

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United States District Court
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Western District of Tennessee

ll'lOvW»Slt M. GOULD
CLERK US f”at?‘i€l COlHT
Uoited States of America ) i'W C* “’:?PF’?'§§S
)
vs )
) .
Prerneria Berry ) Case No. 05-20280-01 ~"D

CONSENT TO MODIFY CONDITIONS OF RELEASE

I, Premeria Berry, have discussed With Stephanie K. Denton, Pretn`al Services Off`lcer,
modification of my release conditions as follows:

Notify current and future employer of nature of instant indictment if it is determined by
Pretrial Services that there is a possible 3rd party risk

I consent to this modification of my release conditions and agree to abide by this modification

QNM ll BW) § 24 65 spine 5

Signature ot` Defendant Date retrial ServicesfProbation Officer Date

I have reviewed the conditions with my client and concur that this modification is appropriate

 

Signature of Def`ense Counsel Date

[ ] The above modification of conditions of release is ordered, to be effective on al -?_&d’

[ ] The above modification of conditions of release is n_ot ordered.

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Signature of Judicial Officer Date

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 28 in
case 2:05-CR-20280 Was distributed by f`aX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
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Honorable Bernice Donald
US DISTRICT COURT

